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1                                    UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3     Marisela Diaz,
                                                          2:23-cv-02038-JAD-MDC
4                          Plaintiff(s),

5     vs.                                                 Order
6     One World Products, LLC, et al.,

7                           Defendant(s).

8           The parties’ Stipulation for the Extension of Time (ECF No. 22) is GRANTED IN PART.

9    Defendant One World Products, Inc. shall have until July 29, 2024, to respond to plaintiff’s complaint.

10   The stipulation is DENIED in all other aspects.

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12          DATED this 21st day of June 2024.

13          IT IS SO ORDERED.

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15                                                               Hon. Maximiliano D. Couvillier III
                                                                 United States Magistrate Judge
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